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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

ROY MUNOZ,

               Plaintiff,

vs.                                          Cause No. 2017-cv-0881

JOHN DOE CORPORATIONS
W, Y and Z,

               Defendants.

       COMPLAINT FOR PRODUCT DEFECT RESULTING IN PERSONAL INJURY

       COMES NOW Plaintiff, by and through his counsel of record, and submits the following

as his Complaint against the Defendant herein for claims associated with product defect resulting

in personal injury.

       1.      Plaintiff Roy Munoz is a resident of San Juan County, New Mexico.

       2.      On information and belief, Defendants John Doe Corporations W, Y and Z

(“Defendants”) are foreign corporations with their primary place of business located outside the

State of New Mexico and are incorporated outside of the State of New Mexico.

       3.      The Defendants, jointly and severally, are the manufacturers and distributors of

airbags and airbag controllers used in hundreds of thousands, if not millions, of vehicles sold and

used in the United States.

       4.      Plaintiff was, at the time of the incident in question, employed by the United

States Forest Service.

       5.      On November 1, 2016, Plaintiff was driving a forest service vehicle, specifically,

a 2012 Dodge Ram 1500 during the course and scope of his duties on Highway 84 in Rio Arriba


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County, New Mexico.

       6.        At approximately Mile Marker 221, Plaintiff, who was traveling at the post speed

limit and traveling in his lane of travel, hit two (2) Elk head on.

       7.        The airbag, manufactured, distributed and installed by the Defendants did not

deploy despite the fact Plaintiff was traveling at highway speeds and despite the fact that the

collision to with the Elk caused heavy damage to the front end of the vehicle.

       8.        As a result of the failure of the airbag to deploy, Plaintiff has suffered serious

personal injuries, has lost his job, has incurred, and will incur in the future, medical and

medically related expenses, has endured pain and suffering, emotional distress, and permanent

disfigurement.

       9.        The Defendants were negligent in their design and manufacture of the subject

airbag and/or its controlling devices, and this negligence caused the Plaintiff’s damages as set

forth above.

       WHEREFORE, Plaintiff requests judgment in his favor against the Defendants in an

amount sufficient to compensate him for his injuries and damages as set forth above, for pre- and

post-judgment interest, costs of suit, and such further relief as the Court deems just and proper.

                                                Respectfully submitted,

                                                LAW OFFICES OF JAMES P. LYLE, P.C.

                                                /s/ James P. Lyle, Attorney
                                                James P. Lyle
                                                Attorney for Plaintiff Roy Munoz
                                                1116 Second Street, N.W.
                                                Albuquerque, New Mexico 87102
                                                (505) 843-8000 - Tel/ (505) 843-8043 - Facsimile



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